                                  UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TENNESSEE
                                      GREENEVILLE DIVISION


  UNITED STATES OF AMERICA and
  STATE OF TENNESSEE,

                         Plaintiffs,
                                                       Case No. 2:21-CV-00080-JRG-CRW
         v.

  WALGREEN CO.,

                         Defendant.


  UNITED STATES’ RESPONSE IN OPPOSITION TO WALGREENS’ MOTION TO COMPEL

         Plaintiff United States, by and through Francis M. Hamilton III, United States Attorney for the

  Eastern District of Tennessee, submits this response in opposition to Defendant Walgreen Co.’s

  (“Walgreens”) motion [ECF 116] to compel discovery. For the reasons that follow, Walgreens’ motion

  should be denied in its entirety.

                                       RELEVANT BACKGROUND

         The central facts in this case are relatively limited, straight-forward and are not subject to

  serious dispute. This is a case about the submission, over a period of just more than two years, of false

  prior authorization requests for direct acting antiviral (DAA) prescription medications for 65 TennCare

  enrollees, the submission of falsified medical records and lab reports in support of those requests, and

  the resulting, improper payment of more than $5.9 million in TennCare benefits to Walgreens for

  DAAs dispensed to those 65 patients. All the prescriptions at issue were dispensed from Walgreens’

  specialty pharmacy located at Holston Valley Medical Center in Kingsport, Tennessee. In late 2016,

  Amber Reilly—Walgreens’ former registered store manager at the Kingsport pharmacy—admitted her

  conduct in submitting and causing the submission of the false prior authorization requests and




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  supporting records for “at least” 51 of the TennCare enrollees in question. 1 She pleaded guilty in this

  Court to healthcare fraud in violation of 18 U.S.C. §§ 1347 and 2. [Plea Agreement, Doc. 2, No. 2:16-

  CR-00107-JRG].

         Despite the relatively straight-forward nature of the factual allegations, Walgreens has served a

  multitude of extremely broad interrogatories and requests for production of documents seeking

  discovery on far-ranging topics, many of which are irrelevant to the claims or any legally viable

  defenses in the case. The United States timely provided written responses and objections to

  Walgreens’ requests for production and interrogatories. Moreover, the United States has produced

  nearly 9,300 pages of documents obtained in the course of its investigation (in addition to more than

  25,000 pages of documents produced by the State of Tennessee), including records from prescribing

  providers and other healthcare facilities, records from TennCare’s pharmacy benefits manager

  Magellan, records obtained from Walgreens, and records obtained from TennCare. Discovery is

  ongoing and the United States expects to produce additional documents. 2

         Now, Walgreens has filed a motion to compel that is as wide-ranging as its discovery requests,

  seeking to require the United States to provide additional answers and information in response to a host

  of discovery requests. 3 In many instances, it is difficult to discern from Walgreens’ motion which


  1
    The United States and Tennessee later discovered 14 additional TennCare enrollees for whom false
  PA requests and supporting records were submitted.
  2
    Although Walgreens complains about the “limited” nature of the United States’ production to date,
  that is in part due to the United States’ pending objections, and in part due to the reality that TennCare
  is administered on a day-to-day basis by the State of Tennessee and its agencies and contractors, rather
  than the United States. Accordingly, the bulk of the most relevant information related to the claims
  and the program requirements and program details are in the possession of the State of Tennessee or its
  agents.
  3
    It is also worth noting that although many of the United States’ objections have been pending for 6
  months or longer, Walgreens waited until just over a month before the discovery deadline to file a
  motion to compel the production of documents and information that it contends is paramount to its
  defenses.
                                                       2


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  specific responses and objections Walgreens contends are deficient. Accordingly, the United States

  will address the categories of information as described by Walgreens.

                                                ARGUMENT

         The scope of discovery in civil litigation falls within the sound discretion of the trial court. See

  Robert Wigington v. Metro. Nashville Airport Auth., No. 3:17-CV-01523, 2019 WL 12096809 at *3

  (M.D. Tenn. June 21, 2019) (citing S.S. v. E. Ky. Univ., 532 F.3d 445, 451 (6 th Cir. 2008)). “Unless

  otherwise limited by court order,” Rule 26 of the Federal Rules of Civil Procedure allows discovery of

  “any nonprivileged matter that is relevant to any party’s claim or defense and proportional to the needs

  of the case . . . .” Fed. R. Civ. P. 26(b)(1). Rule 33 specifically provides that “a party may serve on

  any other party nor more than 25 written interrogatories, including all discrete subparts. . . . An

  interrogatory may relate to any matter that may be inquired into under Rule 26(b).” Fed. R. Civ. P.

  33(a)(1) and (2). Similarly, Rule 34 provides that “[a] party may serve on any other party a request

  within the scope of Rule 26(b)” to produce “any designated documents or electronically stored

  information” that is “in the responding party’s possession, custody, or control[.]” Fed. R. Civ. P.

  34(a)–(a)(1)(A).

         As explained below, Walgreens’ motion to compel should be denied in its entirety because the

  discovery it seeks either has been provided or will be provided, or because the discovery is outside the

  scope permitted by Rule 26(b)(1) in that it seeks information that is privileged or irrelevant to the

  issues in the case, and the discovery is unduly burdensome. Under Rule 26(b)(2)(C)(iii), a court (on

  motion or on its own) “must limit the frequency or extent of discovery otherwise allowed by [the

  Federal Rules] or by local rule if it determines that. . . the proposed discovery is outside the scope

  permitted by Rule 26(b)(1).” It is well-settled that the party seeking the proposed discovery has the

  burden of demonstrating that it is relevant to the claims or defenses in the action. Grant, Konvalinka &
                                                       3


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  Harrison, P.C. v. United States, No. 1:07-CV-88, 2008 WL 4865566, * 4 (E.D. Tenn. Nov. 10, 2008).

  In deciding whether information is discoverable, “the court must weigh the burden and expense of the

  discovery versus its likely benefit, as required by Rule 26(b)(1).” Gazvoda v. Sec’y of Homeland Sec.,

  Case No. 15-cv-14099, 2017 WL 168159, *4 (E.D. Mich. Jan. 17, 2017).

  A.     Walgreens’ Document Requests Relating to CMS Release No. 172 and the TennCare
         Waiver

         Without specifically discussing any particular requests for production (RFPs) or the United

  States’ responses and objections thereto in any significant detail, Walgreens complains generally that

  the United States has “improperly” withheld relevant documents related to CMS Release No. 172 and

  TennCare’s SSA Section 1115 Waiver. See Walgreens’ Motion to Compel, ECF 116 at 5-11. 4 In

  particular, Walgreens complains that the United States “has agreed to produce only a narrow set of

  documents: ‘communications with TennCare related to Release No. 172’ (none of which it has

  produced to date) and documents that are already publicly available.” Id. at 6. “Thus,” Walgreens

  continues, “by way of example only, the United States has refused to produce CMS internal

  communications regarding Release No. 172 and the review and approval of TennCare’s ‘special

  demonstration’ status.” Id.




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   Walgreens’ motion to compel generally describes only in summary fashion a number of specific RFPs
  that seek documents and communications related to “the promulgation and implementation” of Release
  No. 172, documents and communications pertaining to the criteria considered or used by any state
  Medicaid programs, “including TennCare,” for coverage for Hepatitis C medications (again, any
  Hepatitis C medications), documents “relating to” TennCare’s application to operate as a special
  demonstration project under the Secretary of Health and Human Services’ waiver authority,
  information relating to the cost effectiveness of the four DAAs, and communications among the
  Plaintiffs and the State of Tennessee’s pharmacy benefit managers relating to DAA requirements. ECF
  116 at 6 n.3, 10-11 (discussing RFPs 58-62 and “numerous other” RFPs that “implicate” CMS Release
  No. 172 and the CMS waiver).
                                                       4


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         The United States has not yet produced any communications with TennCare related to Release

  No. 172 because in the course of its review and collection efforts to date, the United States has not

  identified such communications. Discovery remains ongoing, and the United States will identify any

  such communications that it may find and either produce them or assert any applicable privilege.

         Walgreens already has CMS Release No. 172 and the CMS Waiver documents upon which the

  United States and Tennessee rely. Indeed, the United States and Tennessee filed copies of the Section

  1115 Waiver granted by CMS to TennCare, extensions of the Waiver, and materials attendant to the

  Waiver as Exhibits A-J to their Joint Response in Opposition to Walgreens’ Supplemental Brief in

  Support of its Motion to Dismiss. ECF 042 at 2 n.3; ECF 042-1 through 042-10. Additionally, in its

  response to RFP 60, the United States directed Walgreens to the Medicaid.gov TennCare waiver web

  page, 5 which contains an extensive (if not exhaustive) library of materials related to TennCare’s

  Section 1115 Waiver including pending applications and related documents, approved applications and

  related documents, and the administrative record containing historical records related to the TennCare

  Section 1115 Waiver. See ECF 116, Ex. M at 14-15 (Plaintiffs’ Resp. to RFP 60).

         To the extent that Walgreens seeks the production or disclosure of additional materials such as

  “CMS internal communications regarding Release No. 172 and the review and approval of TennCare’s

  ‘special demonstration’ status,” see ECF 116 at 6, the United States has asserted objections that the

  discovery sought is overbroad, unduly burdensome, irrelevant to the claims asserted or any viable

  defenses that Walgreens may assert, or seeks privileged information. See id. Ex. M at 13-15

  (Responses to RFPs 58-62). Walgreens’ attempt to dismiss the United States’ objections with the

  waive of a hand as “meritless,” ECF 116 at 6, or to argue that the United States has waived all


  5
    Available at https://www.medicaid.gov/medicaid/section-1115-demo/demonstration-and-waiver-
  list/83206.
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  objections on relevance grounds, ECF 116 at 7, should be rejected. The United States specifically

  asserted the objections, and any responsive information that has been produced was explicitly produced

  subject to and without waiving its objections. Id. Ex. J at 8-11 (Responses to RFPs 7, 9, 10, 11, 12 and

  13), Ex. M at 13-15 (Responses to RFPs 58-62).

           CMS is a massive organization, and the Medicaid program on a national level is, depending on

  the metrics used, either the largest or the second-largest federal health care program. Discovery

  requests seeking “all” documents or communications relating to the “promulgation and implementation

  of Release No. 172” or “CMS documents and communications pertaining to the criteria considered or

  used by [any] state Medicaid programs . . . for coverage of Hepatitis C medications . . .” 6 impose an

  extremely high burden. Identifying and collecting such information alone is a daunting task, let alone

  reviewing the material for responsiveness and privilege.

           Further, the burden of the proposed discovery outweighs its likely benefit. Release No. 172

  itself is the operative document that embodies what CMS said in 2015 about state Medicaid prior

  authorization criteria for DAAs. Similarly, the TennCare Section 1115 Waiver itself (along with its

  attendant materials) is the operative document that reflects TennCare’s status as a special

  demonstration project and the operation and effect of the Waiver. Internal communications about those

  documents are not likely to be of significant value adjudicating the issues in dispute. This is especially

  so because, for the reasons discussed at length in the Plaintiffs’ briefs responding to Walgreens’

  Supplemental Brief in Support of its Motion to Dismiss, Walgreens’ defense that TennCare’s prior

  authorization criteria were legally invalid and unenforceable fails as a matter of law. See ECF 42 and

  ECF 53.




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      See Walgreens’ Motion to Compel, ECF 116 at 6 n.3.
                                                    6


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         Despite Walgreens’ repeated arguments to the contrary, Release No. 172 was not an affirmative

  determination by CMS that the prior authorization criteria used by Tennessee or any other state

  actually violated federal law (and even if it was such a statement, it would not be binding on either the

  parties or this Court). ECF 42 at 9-13. This Court should decline to follow the decision by the United

  States District Court for the Western District of Virginia in United States v. Walgreen Co., No. 1:21-

  CV-00032-JPJ-PMS, 2021 WL 5760307 (W.D. Va. Dec. 3, 2021), on which Walgreens now seeks to

  rely in this case. Respectfully, the Western District of Virginia erred by subjecting the state’s statutory

  authority to impose prior authorization requirements on any covered outpatient drug (under 42 U.S.C. §

  1396r-8(d)(1)(A)) to the limitations placed on “other” permissive restrictions (such as exclusions under

  a formulary) set out in 42 U.S.C. § 1396r-8(d)(1)(B) and (d)(4). See Pharmaceutical Research and

  Mfrs. America v. Walsh, 538 U.S. 644 at 653 (2003) (“[A] prior authorization program that complies

  with the 24–hour and 72–hour conditions [set forth in section 1396r-8(d)(5)] is not subject to the

  limitations imposed on formularies [contained in section 1396r-8(d)(4)]”); see also id. at 677 (“[t]he

  only stricture placed on a prior authorization program is compliance with certain enumerated

  procedures, § 1396r–8(d)(5). Undoubtedly, the ‘purpose’ of § 1396r–8(d)(1) is its effect—to grant

  participating States the authority to subject drugs to prior authorization subject only to the express

  limitations in § 1396r–8(d)(5).”) (Thomas, J.) (concurring) (emphasis added).

         Finally, even if this Court were inclined to find that TennCare’s prior authorization criteria

  could be deemed to violate section 1396r-8(d)(4), as Walgreens contends, the plain language of

  TennCare’s Section 1315 Waiver explicitly exempts TennCare from the requirements of section 1396r-

  8(d)(4). See ECF 42, U.S. and Tenn. Jt. Resp. to Supp. Brief in Support of Mot. to Dismiss, at 6-9, n.6.

  Although Walgreens is skeptical, the text of Section 1315 is clear. Among other things, 42 U.S.C. §

  1315(a)(1) provides authority to the Secretary of Health and Human Services to “waive compliance
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  with any of the requirements” of 42 U.S.C. § 1396a “[i]n the case of any experimental, pilot, or

  demonstration project. . . .” In turn, 42 U.S.C. § 1396a(a)(54) requires a State which “provides medical

  assistance for covered outpatient drugs” to “comply with the applicable requirements of [42 U.S.C. §]

  1396r-8. . . .” So, because the Secretary of HHS possesses the discretionary authority to waive “any of

  the requirements” of Section 1396a, the Secretary may waive any of the “applicable requirements” of

  Section 1396r-8. And, as stated in the TennCare waiver documents, that is precisely what the

  Secretary did. See ECF 42 at 6-8, Exhibits A, B and C.

         The Court has not yet ruled on the issues raised by Walgreens’ Supplemental Brief filed in

  Support of its Motion to Dismiss [ECF 41], or the briefs that followed [ECF 42, 47, 53 and 54].

  Nevertheless, Walgreens’ asserted defense that TennCare’s prior authorization criteria were legally

  invalid and unenforceable fails as a matter of law. To the extent that the Court so rules, Walgreens’

  discovery requests seeking documents and communications related to Release No. 172 and the

  TennCare waiver are irrelevant to the parties’ claims and defenses, and therefore outside the scope of

  Rule 26(b)(1). Accordingly, Walgreens’ motion to compel should be denied.

  B.     Walgreens’’ Request for Information Related to Email Searches and Productions

         The United States is aware of its obligation to produce relevant, responsive emails to the extent

  they are nonprivileged and otherwise within the scope of Rule 26(b)(1). Because the claims and

  defenses in this case relate exclusively to requests for prior authorization and claims for payment

  submitted to and paid by the TennCare program and its contractors, and the TennCare program is

  administered and managed on a day-to-day basis by the State of Tennessee (and its agencies and

  contractors), most if not all of the most relevant and responsive emails are in the possession of those

  entities and third parties. Moreover, in light of the United States’ objections to discovery requests

  seeking documents and communications related to Release No. 172 and the TennCare Section 1315

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  waiver as discussed supra at section A, the United States has not yet identified emails in its possession

  that are relevant and responsive within the scope of Rule 26(b)(1). The United States is continuing its

  efforts, however, and is prepared to confer further with Walgreens regarding this issue.

  C.     Walgreen’s Discovery Requests Related to the United States Implementation of a
         Document Hold and Information Regarding Document Preservation

         Walgreens seeks to compel the United States’ responses to 8 interrogatories and 11 requests for

  production of documents that seek documents and information related to the United States’

  implementation of a document hold and related to document preservation, including information on the

  United States’ document retention policies and practices. See Walgreens’ Motion to Compel, ECF 116

  at 12-16. The United States has objected to each of those discovery requests, whether generally or

  specifically, on the basis that the requests are not relevant,7 that they are not proportional to the needs

  of the case, or that they seek privileged information. See ECF 116 Ex. F at 1-2 (General Objections),

  14 (Resp. to Interrog. 15); Ex. G at 1-2 (General Objections), 4-8 (Resp. to Interrogs. 17-21, 23 and

  25); Ex. M at 1-4 (General Objections), 7-12 (Resp. to RFPs 43-45, 47-53 and 56).

         Discovery requests that seek information relating to parties’ litigation hold and their document

  preservation and collection efforts are commonly known as “discovery on discovery.” Because

  “discovery on discovery” is collateral to the substantive issues involved in the litigation, courts “must

  closely scrutinize the request ‘in light of the danger of extending the already costly and time-

  consuming discovery process ad infinitum.’” Commins v. NES Rental Holdings, Inc., Civil Action No.




  7
   Walgreens appears to argue that information regarding document preservation is relevant to the
  United States’ “Reverse” False Claims Act allegations because, according to Walgreens, reverse false
  claims liability based on the knowing and improper avoidance of a repayment obligation requires a
  showing that the government was deceived by the defendant’s conduct. See ECF 116 at 12, n.5.
  Significantly, however, this Court soundly rejected that argument in its Order denying Walgreens’
  Motion to Dismiss. See Mem. Op. and Order, ECF 104 at 24-27.
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3:16CV-00608, 2018 WL 3186983, * 9 (W.D. Ky. June 28, 2018) (citation omitted). In light of this

risk, “[a] number of courts look upon collateral discovery ‘with skepticism’ or ‘strongly discourage’

it.” Id. (collecting cases).

        Walgreens’ propounded Interrogatories 15, 17-23 and 25, and Requests for Production 43-45,

47-53 and 56 are objectionable absent a factual basis showing potential spoliation or raising questions

about the United States’ preservation or collection efforts. The Sedona Conference has stated:

                [T]here should be no discovery on discovery, absent an agreement between
                the parties, or specific, tangible, evidence-based indicia (versus general
                allegations of deficiencies or mere “speculation”) of a material failure by
                the responding party to meet its obligations. A requesting party has the
                burden of proving a specific discovery deficiency in the responding party’s
                production. See Principle 7 (“The requesting party has the burden on a
                motion to compel to show that the responding party’s steps to preserve and
                produce relevant electronically stored information were inadequate”).

The Sedona Principles, Third Edition: Best Practices, Recommendations & Principles for Addressing

Electronic Document Production cmt. 6.b., 19 SEDONA CONF. J. 1, 123-124 (2018) (emphasis added).

        The Sixth Circuit has cited with approval the principles articulated by The Sedona Conference

when it comes to discovery best practices. John B. v. Goetz, 531 F.3d 448, 459-60 (6th Cir. 2008).

The case law within this Circuit also recognizes that a factual basis for questioning a party’s

preservation and collection efforts must exist before discovery on discovery is permitted. See Shufeldt

v. Baker, Donelson, Bearman, Caldwell & Berkowitz, P.C., Case No. 3:17-cv-01078, 2020 WL

1532323, * 9-12 (M.D. Tenn. March 31, 2020); Commins, 2018 WL 3186983 at * 9; EPAC Tech., Inc.,

v. Thomas Nelson, Inc., No. 3:12-cv-00463, 2015 WL 13729725, * 6-7 (M.D. Tenn. Dec. 1, 2015) (all

stating that discovery on discovery is proper only when there is a showing of potential spoliation or

issues with a party’s preservation and collection efforts); cf. Beaudry v. TeleCheck Serv., Inc., No. 3-

07-0842, 2013 WL 12355782, *1-2 (M.D. Tenn. March 31, 2013) (allowing discovery into the


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defendant’s retention policies and litigation holds because the plaintiff had evidence of spoliation and a

flawed document production).

       Accordingly, to seek discovery into the United States’ document preservation and collection

efforts, Walgreens has the burden of proving a specific deficiency in the government’s production, and

that such deficiency is “material.” The Sedona Principles, supra, at 123. Mere speculation about the

quality of the government’s preservation or collection efforts, or unsubstantiated assertions about

purportedly missing data and the government’s alleged delay in responding to Walgreens’ written

discovery requests, are insufficient to open the door into the intrusive discovery sought by Walgreens.

Id. Equally unavailing is any contention by Walgreens that the United States’ production of documents

consists of fewer documents than Defendants expected. See Hubbard v. Potter, 247 F.R.D. 27, 29

(D.D.C. 2008) (“Courts supervising discovery are often confronted by the claim that the production

made is so paltry that there must be more that has not been produced or that was destroyed. . . Instead

of chasing the theoretical possibility that additional documents exist, courts have insisted that the

documents that have been produced permit a reasonable deduction that other documents may exist or

did exist and have been destroyed.”). To the extent Walgreens seeks information about the United

States’ document retention policies or those of its agencies, such discovery is improper absent a

showing of potential spoliation. Shufeldt, 2020 WL 1532323, at * 12.

       Moreover, to the extent Defendant’s proposed discovery seeks information relating to the

United States’ “Document Hold” (including Interrogatories 15, 17-21, 23 and 25), such discovery is

improper because litigation hold letters are generally protected by the attorney-client and/or work

product privileges. EPAC Tech., Inc., 2015 WL 13729725 at * 6.

       Significantly, in the parties’ Rule 26(f) conference, Walgreens did not raise any specific issues

or identify particular types of discovery that it planned to seek relating to the government’s
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preservation and collection efforts. Similarly, it has not identified any specific facts or events that it

contends suggest spoliation. Rather, Walgreens has only identified general concerns based on

counsel’s previous experience as an Assistant United States Attorney in another district, its contention

that TennCare should have implemented a litigation hold earlier than it did, and the imposition of

sanctions against the United States in a 2012 case from the District of New Mexico where the court

determined that the United States failed to issue a timely and adequate litigation hold and——

importantly——it was determined that spoliation in fact occurred. See United States ex rel. Baker v.

Cmty. Health Sys., Inc., 2012 WL 12294413 (D.N.M. Aug. 31, 2012). These generalized concerns do

not rise to the level of demonstrating a likelihood of spoliation in this case.

       Walgreens’s motion to compel should be denied because its discovery requests are unduly

burdensome and seek irrelevant and privileged information.

D.     Identities of Individuals with Relevant Information

       Interrogatory No. 3. The United States’ objection was proper under Bose v. Rhodes College,

2017 WL 4479258 at *9 (W.D. Tenn. Oct. 6, 2017). Walgreens did not serve a different or modified

interrogatory, and Walgreens’ offer to narrow the request does not render the interrogatory non-

objectionable under Bose.

       Interrogatories No. 4 and 5. The United States’ responses to these interrogatories, read fairly

and in their entirety, disclose the circumstances under which personnel affiliated with HHS and DOJ

reviewed the relevant prior authorization documents and/or claims for payment, and identify the

personnel involved by affiliation, if not by name. To clarify, the United States did not identify any

persons affiliated with HHS or DOJ who conducted reviews of the relevant prior authorization

documents and/or claims for payment “in the ordinary course of government business” after the time of

the documents’ submission because no such reviews were conducted by HHS or DOJ personnel.

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       Interrogatory No. 8: Walgreens’ Interrogatory remains extremely broad (and objectionable) to

the extent that it seeks the identification of “all” persons with knowledge of federal financial

participation in TennCare between January 1, 2010 and the present. Nevertheless, the United States

can provide a supplemental response, within the next week.

E.     The “Reilly Case File”

       Despite Walgreens’ assertions to the contrary, the United States has produced documents

obtained in the course of its investigation. For example, the United States has produced records that it

obtained from TennCare, Magellan, prescribing providers and other healthcare facilities that provided

services for the 51 TennCare enrollees whose prior authorization requests and paid claims formed the

basis for Reilly’s criminal plea.

       Walgreens complains that the United States has not produced the presentence report and

psychological evaluation that were provided to the criminal prosecutor in the Reilly case. Because the

presentence report and psychological report prepared in connection with the Reilly sentencing are

documents that were prepared or obtained by the United States Probation Office at the direction of the

Court and belongs to the Court, it is unclear whether the United States Attorney’s Office may produce

those materials to Walgreens without the Court’s approval.

       With regard to other materials in the investigative “case file,” the United States anticipates

being able to provide a privilege log within the next two weeks. Materials in the investigative files

include, among other things, internal investigative reports summarizing witness interviews (including

interviews conducted by or at the direction of government attorneys), relaying preliminary

investigative findings and impressions, and similar information. Although the Tennessee Bureau of

Investigation Medicaid Fraud Control Division (TBI-MFCD) investigated Reilly, TBI-MFCD also

assists with civil investigations and has kept its investigation open during the investigation and

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prosecution of this civil action. Accordingly, it is appropriate to preserve the government’s right to

assert all available privileges.

F.      “Claims Audits” and “Conduct of Investigations” re: Medicaid Overpayments

        Walgreens complains that the United States has not produced any documents in response to

RFP 16. As clarified in the United States’ General Objections to Walgreens’ First Requests for

Production of Documents (ECF 116 Ex. J at 3), a response to a specific request stating that any

responsive documents will be produced is not intended as a representation that the United States in fact

has possession, custody or control of responsive, non-privileged documents, but rather that it will

undertake a reasonable search for responsive documents and will produce any responsive, non-

privileged documents identified by that search. After diligent inquiry the United States has determined

that it does not have any responsive information related to the Kingsport Pharmacy for the timer period

January 1, 2010, to the present.

        Regarding RFP 17, the United States stands on its objections.

G.      Walgreens’ Arguments Regarding the Scope of Responsiveness Related to “Other”
        Hepatitis C Drugs

        Although Walgreens correctly states that the parties are conferring about limiting the scope of

various discovery requests that “implicate drugs” other than the Four DAAs, its discovery requests

seeking information about “other” Hepatitis C drugs is tied to its defense that TennCare’s prior

authorization criteria violated federal law (consistent with Walgreens’ incorrect interpretation of

Release No. 172). Accordingly, Walgreens’ motion to compel discovery on these topics should be

denied for the same reasons discussed supra at pp. 5-8.




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                                             CONCLUSION

       For these reasons, the United States respectfully requests that this Court deny Defendant

Walgreens’ motion to compel in its entirety.


                                           .Respectfully submitted,

                                           FRANCIS M. HAMILTON III
                                           United States Attorney

                                       By: /s/ Robert C. McConkey, III
                                          Robert C. McConkey, III, BPR #018118
                                          Joseph C. Rodriguez, Ohio Bar No. 0072958
                                          Assistant United States Attorneys
                                          800 Market St., Suite 211
                                          Knoxville, TN 37902
                                           (865) 545-4167
                                          robert.mcconkey@usdoj.gov
                                          joe.rodriguez@usdoj.gov

                                           Counsel for the United States of America



                                     CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing was filed electronically. Notice of this filing will
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                                                    /s/ Robert C. McConkey, III
                                                    Robert C. McConkey, III
                                                    Assistant United States Attorney




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